          Case 7:15-cv-00150-WLS Document 16 Filed 07/28/16 Page 1 of 3



                 IN THE UNITED STATES DISTRICT COURT
                 FOR THE MIDDLE DISTRICT OF GEORGIA
                          VALDOSTA DIVISION

ALLEN COLVIN,                          :
                            :
          Plaintiff,        :
                            :                      CIVIL ACTION
     vs.                    :
                            :                      NO. 7:15-cv-00150-WLS
BRUMBLEY PLUMBLING COMPANY, :
LLC and MICHAEL I. BUMBLEY, :
                            :
          Defendant.        :

                         STIPULATION OF DISMISSAL

         COME NOW all of the parties to this action and hereby move the Court for

a Dismissal under Fed.R.Civ.P. 41(a)(1)(ii) for the dismissal of this action with

prejudice.


         Wherefore, this Court should approve this Stipulation of Dismissal

dismissing this action in its entirety with prejudice. Each party shall bear his own

costs.


                       [SIGNATURES ON FOLLOWING PAGE]
       Case 7:15-cv-00150-WLS Document 16 Filed 07/28/16 Page 2 of 3




      This 28th day of July, 2016.

                                        //s James M. Loren
                                        James M. Loren
                                        Ga. Bar No. 551363
                                        Attorney for Plaintiff

Loren Law Group
100 S. Pine Island Road, Suite 132
Plantation, FL 33324
Phone: 954-585-4878
Fax: 954-585-4886
jloren@lorenlaw.com


                                        /s/ Bruce Warren
                                        Bruce Warren
                                        Ga. Bar No. 738475
                                        Attorney for the Defendants

Whitehurst, Blackburn & Warren
809 South Broad Street
Thomasville, GA 31792
Phone: 229-226-2161
Fax: 229-228-9014
bwarren@wbwk.com
        Case 7:15-cv-00150-WLS Document 16 Filed 07/28/16 Page 3 of 3




                         CERTIFICATE OF SERVICE

       Served this day upon counsel listed below for the Defendant and all other
parties by using the CM/ECF system, which will automatically send e-mail
notifications of such filing to the following parties:

                   Bruce Warren, Esq.
                   809 South Broad Street
                   Thomasville, GA 31792
                   Phone: 229-226-2161
                   Fax: 229-228-9014
                   bwarren@wbwk.com
                   Attorney for Defendants

      This 28th day of July, 2016.



                                             /s/ James Loren
                                             James Loren
                                             Loren Law Group
                                             100 S. Pine Island Road, Suite 132
                                             Plantation, FL 33324
                                             Phone: 954-585-4878
                                             Fax: 954-585-4886
                                             jloren@lorenlaw.com
